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 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     ) CR S-2:12-0294 MCE
                                   )
12                    Plaintiff, ) STIPULATION AND ORDER
                                   ) RESETTING STATUS CONFERENCE,
13                v.               ) AND EXCLUDING TIME UNDER THE
                                   ) SPEEDY TRIAL ACT
14   BART WAYNE VOLEN,             )
     GREGORY SCOTT BAKER, and      )
15   DARRELL PATRICK HINZ,         )
                                   )
16                                 )
                       Defendants. )
17   _____________________________)
18        The United States of America, through its counsels of record,
19   Benjamin B. Wagner, United States Attorney for the Eastern District
20   of California, and Michael M. Beckwith, Assistant United States
21   Attorney, defendant Bart Wayne Volen, through his counsel of record,
22   Matthew G. Jacobs, defendant Gregory Scott Baker, through his
23   counsel of record, Thomas A. Johnson, and defendant Darrell Patrick
24   Hinz, through his counsel of record, William J. Portanova, hereby
25   stipulate and agree that the status conference set for September 20,
26   2012, be continued to November 1, 2012, and stipulate that the time
27   beginning September 20, 2012, and extending through November 1,
28   2012, should be excluded from the calculation of time under the

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 1   Speedy Trial Act.    The parties submit that the ends of justice are
 2   served by the Court excluding such time, so that counsel for each
 3   defendant may have reasonable time necessary for effective
 4   preparation, taking into account the exercise of due diligence.
 5   18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.          Also, the parties
 6   agree that, due to the nature of the prosecution and the associated
 7   civil forfeiture action, this is a complex case for which the
 8   parties cannot prepare without additional time.          18 U.S.C. §
 9   3161(h)(7)(B)(ii); Local Code T2
10         The attorneys for each defendant need more time to prepare,
11   which will include reviewing discovery, discussing that discovery
12   with their respective clients, considering evidence that may affect
13   the disposition of this case, conducting necessary research and
14   investigation, and then discussing with their clients how to
15   proceed.   The parties stipulate and agree that the interests of
16   justice served by granting this continuance outweigh the best
17   interests of the public and the defendants in a speedy trial.          18
18   U.S.C. § 3161(h)(7)(B)(iv) and (B)(ii).
19   IT IS SO STIPULATED.
20                                               BENJAMIN B. WAGNER
                                                 United States Attorney
21
     Dated: September 20, 2012         By:       /s/ Michael M. Beckwith
22                                               MICHAEL M. BECKWITH
                                                 Assistant U.S. Attorney
23                                               Attorney for Plaintiff
24   Dated: September 20, 2012         By:       /s/ Matthew G. Jacobs
                                                 MATTHEW G. JACOBS
25                                               Attorney for Defendant
                                                 BART WAYNE VOLEN
26   ///
27   ///
28   ///

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 1   Dated: September 20, 2012         By: /s/ Thomas A. Johnson
                                           THOMAS A. JOHNSON
 2                                         Attorney for Defendant
                                           GREGORY SCOTT BAKER
 3
 4   Dated: September 20, 2012         By: /s/ William J. Portanova
                                           WILLIAM J. PORTANOVA
 5                                         Attorney for Defendant
                                           DARRELL PATRICK HINZ
 6
 7
 8                                      ORDER
 9        UPON GOOD CAUSE, as shown in the parties stipulation, it is
10   hereby ordered that this matter be set for further status conference
11   on November 1, 2012.     Pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and
12   (B)(ii), the Court finds that the interests of justice served by
13   granting this continuance outweigh the best interests of the public
14   and the defendants in a speedy trial.       The Court also finds that the
15   time beginning September 20, 2012, and extending through November 1,
16   2012, shall be excluded from the calculation of time under the
17   Speedy Trial Act.
18        IT IS SO ORDERED.
19
     Dated: September 25, 2012
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21                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
22                                      UNITED STATES DISTRICT JUDGE
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